                                                                              TB
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                                                                                      Nov 22, 2016
                           U NITED STA TE S D ISTR ICT C O U R T
                           SO UTH ERN D ISTR ICT O F FL O RIDA
            16-20887-CR-SCOLA/OTAZO-REYES
                  C A SE N O .
                                      18U.S.C.j2243(b)
                                      18U.S.C.j2242(1)
                                      18U.S.C.j2241(a)(1)

 U NITED STA TES O F AM ERIC A

 VS.

 D AM O N C O LEM A N ,

        Defendant.


                                        IN DIC TM EN T

        The Grand Jury chargesthat:

                                         COUNT 1
                                   SexualA buse ofa W ard
                                      (18U.S.C.j22434b))
        On oraboutJune 3,20l6,in a Federalprison and in any prison,institution,and facility in

 which personsare held in custody by direction ofand pursuantto a contractoragreem entw ith the

 Attorney G eneral,in M iam i-D ade County,in the Southern DistrictofFlorida,the defendant,

                                    D AM O N C O LEM A N ,

 did knowingly engage in a sexual act w ith another person,that is,E.C., who w as in official

 detention and underthecustodial,supelw isory,and disciplinary authority ofthe defendant,Dam on

 Coleman,inviolationofTitle 18,UnitedStatesCode,Section2243*).
                                         COUNT 2
                                   SexualAbuse by Threat
                                      (18U.S.C.j224241))
        On oraboutJune 3,20l6,in a Federalprison and in any prison,institution,and facility in
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  whichpersonsareheldincustody by direction ofandpursuantto acontractoragreem entwiththe

 A ttorney Gencral,in M iam i-Dade County,in the Southern D istrictofFlorida,the defendant,

                                    D AM O N C O LEM A N ,

 did know ingly cause another person,thatis,E .C .,to engage in a sexualact by threatening and

 placingE.C.in fear,inviolationofTitle18,UnitedStatesCode,Sedion2242(1).
                                         CO UN T 3
                             A ggravated SexualAbuse by Force
                                    (18U.S.C.j2241(a)(1))
        On oraboutJune 3,2016,in a Federalprison and in any prison,institution,and facility in

 which personsare held in custody by direction ofand pursuantto a contractoragreem entw ith the

 Attorney General,in M iam i-D ade County,in the Southern D istrictofFlorida,the defendant,

                                    D A M O N C O LEM AN ,

 did knowingly cause anotherperson,thatis,E.C.,to engage in a sexualactby using force against

 E.C.,inviolation ofTitle18,UnitedStatesCode,Section2241(a)(1).


                                                   A 'X   E B111

                                                    6
                                                   F      PERSON


  t                      G(.
 W IFRED O A .FERRER
 U N ITED STA TES A TTORN EY

  N
                   K .
 BREEZY E TEL IR
 A SSISTAN T U N ITED STATES A TTO RN EY
                           UNITED STATES DISTRICT COURT
 Case 1:16-cr-20887-RNS Document
                          SOUTHERN1 Entered
                                     DISTRICTon
                                              OFFLSD Docket
                                                 FLORI
                                                     DA     11/23/2016 Page 3 of 4

UNITED STATES OF AMERICA                       CASE NO.
VS.
                                               CERTIFICATE OF TRIAL ATTORNEY*
DAM ON COLEMAN,

   Defendant.                                  Superseding Case Information:


CourtDivision:(sel
                 ectOne)                       New Defendantts)                             No-
                                               NumberofNew Defendants
      M iam i           Key W est              Totalnum berofcounts
      FTL               W PB         FTP

      Ido herebycedi
                   fy that:
                Ihave carefullyconsidered theallegationsofthe indictment,the num berofdefendants,the numberof
                probable witnesses and the Iegalcomplexities ofthe Indictment/lnformation attached hereto.

                lam aware thatthe information supplied on thisstatementwillbe relied upon by the Judges ofthi
                                                                                                            s
                Courtin setting theircalendars and scheduling criminaltrial
                                                                          s underthe mandate ofthe SpeedyTrial
                Act,Title 28 U.S.C.Section 3161.

                Interpreter:    (YesorNo)      No
                ListIanguage and/ordialect
                This case willtake       7-10 daysforthe parti
                                                             es to try.

                Pl
                 ease check appropriate category and type ofoffense Iisted below:

                (Checkonl
                        yone)                                (Checkonl
                                                                     yone)
      I         0 to 5 days                                           Petty
      II        6 to 10 days                     x                    Minor
      lII       11to 20 days                                          Misdem .
      IV        21to 60 days                                          Felony            x
      V         61days and over
      6.        Hasthiscasebeenpreviouslyfiled inthisDistri
                                                          ctCourt? (YesorNo) No
      Ifyes:
      Judge:                                          Case No.
      (Attachcopyofdi
                    spositiveorder)
      Hasacomplaintbeenfiled inthismatter?            (YesorNo) No
      l
      fyes:
      Magistrate Case No.
      Related M iscellaneous num bers:
      Defendantts)infederalcustodyasof
      Defendantls)instate custodyasof
      Rule 20 from the                         Distri
                                                    ctof

      Isthisa potentialdeathpenaltycase?(YesorNo)             No
                Doesthis case originate from a matterpending inthe Northern Region ofthe U.S.Attorney's Offi
                                                                                                           ce
                priorto October14,2003?               Yes        X     No

      8.        Doesthis case originate from a matterpending inthe CentralRegion ofthe U.S.Attorney's Office
                priorto Septem ber1,2007?
                                                      Yes         X No

                                                                      U
                                                      BREEZYE TEL A
                                                      ASSISTANT UNITED STATES A         ORNEY
                                                      FIa BarNo.18055

*penal
     tySheetls)attached                                                                             REV 4/8/08
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                           UN ITED STA TES DISTR IC T C O U R T
                           SO U TH ER N DISTR IC T O F FLO R IDA

                                      PEN A LTY SH EET

 D efendant'sN am e: DA M ON CO LEM AN

 C ase N o:

 Count#:l

 SexualA buse ofa W ard

  Title18,United StatesCode,Section2243(17)
  *M ax.Penalty: 15 Y ears'lm prisonm ent

 Count//:2

 SexualA buse by Threat

 Title18,UnitedStatesCode,Section2242(1)
 *M ax.Penalty:Life lm prisonm ent

 Count//:3

 Aggravated SexualAbuse by Force

 Title18,UnitedStatesCode,Section224l(a)(1)
  *M ax.Penalty:Life Im prisom nent



   *R efersonly to possible term ofincarceration,does not include possible fines,restitution,
           specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
